Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD_ Page 1 of 12

wf

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISTON

UNITED STATES OF AMERICA,

. e f . .
Plaintitt, No. H-89-232-Ss-03 AUG 15 2013

Vv

ROQUE URDIALES GARCIA,

Defendant.

MOTION FOR REDUCTION: OF SENTENCE
PURSUANT TO 18 U.S.C. §3582(c)(2)
AND AMENDMENT’ 66

Comes now, Roque U. Garcia, Defendant, pro se, and hereby moves the Court for

a sentence reduction and in support of states the following:
BACKGROUND

Defendant was charged by superseding indictment on July 17, 1989, along with
twenty~seven others, with:various drug trafficking offenses, including conspiracy
to posssess with intent to distribute and to import cocaine (Counts 1,3) con-
spiracy to possess with intent to distribute marihuana (Count 2), use of a
telephone to facilitate distribution of marihuana (Counts 13-15, 19,23,24),
distribution of .marihuana (Count 16), use of a telephone to facilitate the
distribution of cocaine (Counts 24,28,36,38), possession of cocaine with in-
tent to distribute (Counts 26,39), distribution of cocaine (Count 27), im-
portation of cocaine (Count 31), and engaging in a continuing criminal enter-

prise (Count 40). Defendant was convicted on all counts ‘and-was sentenced to:

600 months imprisonment on Counts 1,3,31,39 and 40; 480 months imprisonment on’
Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD_ Page 2 of 12
Counts 2,26, and 27; 60-months imprisonment on Count 16; and 40 months imprison-
ment on Counts 13-15,19,23,25,28, and 36-38. All counts were ordered to be served
concurrently. In relation to the CCE count the Court determined that the offense
level under 2D1.1 was 38 and four levels would be added for Chapter 3 enhancements
and that this finding was based on the 1987 version of the Guidelines. Although -
the offense was committed in July of 1989, Defendant was sentenced on August 30,
1990. On October 15,.1988 Amendment 66 ; amended the Guidelines that were in effect
in 1987. Amendment 66 remained in effect until November 1, 1989. Amendment 66 reflect-
ed that the offense level for a Continuing Criminal Enterprise CCE) offense was 36
with no authorization to apply any adjustment from Chapter Three, Part B (Role in
the Offense). Defendant subsequently filed a Motion To Vacate, Set Aside, or Cor-
rect Sentence. The district court found: after argument that counsel was ineffective
for failing to challenge the four point enhancement on appeal:

Garcia's original sentence consisted of his base offense level under 201.1 and a for-level_

increase for his role as an organizer uner 3B1.1. ‘This total resulted in an offense level of

42. However, this offense level was miscalculated. Becaise he was foul guilty under 21 U.S.C.

§848, for the offense of a continuing criminal entecprise, Garcia's sentence should have been

caletlated under 201.5. Urder 201.5, anyone convicted of a continuing criminal enterprise.
should automatically be assessed a four point increase above the offense level in 21.1,
applicable to the underlying offense. U.S.S.G.M. §201.5 (1997). Also, under a 201.5 calcu
lation, vole as an organizer is not a factor to be considered avd should not be included

within the adjustment. ‘Therefore, under the revised calculation, Garcia's offense level should
been calculated at 42 (base level offense under 21.1 of 38 plus 4 points assessed under 201.5).
‘This calculation is precisely the sane as the previous calculation which assessed Garcia a four-
point increase for being an organizer.

As the Court clearly stated the recalculation was applied using the 1997 version
of U.S.S.G.M. 2D1.5. However, using the 1997 version resulted in an Ex Post Facto
violation as the version of 201.5 that was in effect when Defendant committed: his
offense in July of 1989 was Amendment .66, effective October 15, 1988. Thus appli-
cation of the 1997 version to an offense that was committed in July of 1989 re-

sulted in increased punishment that was not authorized.
Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD_ Page 3 of 12

ARGUMENT

 

Section 3582(c)(2) generally bars district courts from modifying sentences af-~
ter they have been imposed. United States v Dillon 560 U.S. 817, 824-25 (2010);
United States v Banks 770 F. 3d 346, 348 (Sth Cir. 2014). §3582(c)(2), however,

 

permits the discretionary reduction of a defendant's sentence "in the case of a
defendant who has been sentenced to a term of imprisonment based on a sentencing
range that has subsequently been lowered by the Sentencing Commission pursuant to
28 U.S.C. §994(0)."" 18 U.S.C.§3582(c)(2); Banks 770 F. 3d @ 348: Under U.S.S.c¢.
§1B1.10(a)(1), "(iJn a case in which a defendant is serving a term of imprison-
ment, and the guideline range applicable to that defendant has subsequently been
lowered as a result of an amendment to the Cuidelines Manual listed in [U.S.S.¢.
§1B1.10(d)], the court may reduce the defendant's term of imprisonment as pro-
vided by 18 U.S.C. §3582(c)(2)." '" In determining whether, and to what extent,

a reduction in the defendant's term of imprisonment under 18 U.S.C. §3582(c)(2)
and this policy statement is warranted, the court shall determine the amended
guideline range that would have been applicable' if the amendment was in ef-

fect at the time the defendant was sentenced." In case at bar this is the key
issue because the Amendment .66 was actually the law when the offense was com-
mitted, thus the Court was obligated to apply it to the matter without authori-
zation to apply any enhancements pursuant to Chapter Three. The CCE offense le-
vel was reduced to 36 with no application of adjustments. Under this offense level
and Criminal History Category I, Defendant would have faced a defined range of

188-235 months imprisonment based on §2d1.5 effective October 15, 1988, since

‘the offense was committed in July of 1989, a time peitiod covered by Amendment 66.
 

Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD Page 4 of 12
As stated above the habeas Court determined that Defendant's offense level should
have been calculatedwnder 201.5 and under this guidéline anyone convicted of a
continuing criminal enterprise should automatically be assessed a four-point in-
crease above the offense level in 2D1.1. applicable to the underlying offense.
Thus, the version. of. 2D1.5° that the district court determined should have been -
calculated under carries a harsher penalty than the version of 2D1.5 that went
into effect prior to the commission of the offense and remained in effect and
unchanged during the time period of the commission of the offense. Thus, Amend-
ment 66 that went into effect on October 15, 1988 had the effect of lowering .
the penalty a continuing criminal enterprise offense wherein the offense level
was to be 36 and no adjustments from Chapter Three were authorized. This indeed
was a reduced penalty from both the offense level that was calculated at sentenc-
ing and the offense level calculation that the district court (habeas ) determined
should have been used at sentencing. Amendment 66 U.S.S.G. App. G reduced the pe-
nalty for a CCE offense and this Court should grant a reduction in the term of
imprisonment based on the offense level reduction. See Exhibits A and B.

POST SENTENCING CONDUCT |

During the entire time of his incarceration Defendant has been a model pri-
‘soner after three decades of rehabilitation he has incurred not one incident re-
port and has strived to improve himself. through available means of Bureau of Pri~
sons Rehabilitation Programs. Defendant's age speaks of a person that is not
likely to recidivate. Past and president Presidents, Congress, and the Sentencing
Commission as well as society have all made major advances in permitting people
such as Defendant to have a second: chance to be a plus to the commimity and lead
a law-abiding life with new members of his family. that were not even born when he

became incarcerated.
Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD_ Page 5 of 12

Dated: July 31, 2019

Respectfully submitted,

 

P.O. Box 9000
Forrest City, AR 72336
Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD_ Page 6 of 12

EXHIBIT A |
> Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD_ Page 7 of 12

1988-1990 AMENDMENTS

2, If the conduct intentionally or recklessly endangered the safety of the aircrafe
Or passengers, an upward departure may be warranted.”.

Appendix A is amended by inserting the following statute in the appropriate place according
_ to statutory title and section number:

"49 U.S.C. § 1472(k)(1) 2A5.3",

The purpose of this amendment is to make the guidelines more comprehensive. The effective
date of this amendment Is October 15, 1988.

66, Section 2D1.5 is amended by deleting the entire text of the guideline and accompanying

commentary as follows:

"(a) Base Offense Level:

Q),
(2)

(3)

Statutory Provision:

32, for the firs! conviction of engaging in a conunuing criminal
enlerprise; or

38, for the second or any subsequent conviction of engaging
in a continuing criminal enterprise; or

43, for engaging in a continuing criminal enterprise as the
principal administrator, leader, or organizer, if cither the
amount of drugs involved was 30 times the minimum. in the
first paragraph (i.e,, the text corresponding to Level 36) of the
Drug Quantity Table or 300 times the minimum in the third .
paragraph (i.¢., the text corresponding to Level 32), or the
principal received $10 million in gross receipts for any twelve-
mooth period.

Commentary
21 U.S.C. § 848.

Application Note:
1. Do not apply any adjustment from Chapter Fhree, Part B (Role in the
Offense).

Background: The base offense levels for continuing criminal enterprises are mandatory
minimum sentences provided by the statute that mandate imprisonment for leaders of
large scale drug enterprises. A conviction establishes that the defendant controlled
and exercised decision-making authority over one of the most serious forms of ongoing
criminal activity. Therefore, an adjustment for role in the offense in Chapter Three,

Part B, is pot applicable.",

and inserting in liev thereof:

"(a) Base Offense Level: 36

Commentary
Statutory:Provision: 21 U.S.C. § 848.
Application Notes:
1 Do not apply any adjustment from Chapter Three, Part B (Role in the
C31 November 1, 1990

[389]
67.

68.

Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD Page 8 of 12

APPENDIX C
Offense).

2. ° Vas part of the enterprise the defendant sanctioned the use of violence, if the
quantity of drugs substantially exceeds that required for level 36 in the drug
quantity table, or if the number of persons managed by the defendant 1s
extremely large, an upward departure may be warranted.

3. Under 21 U.S.C. § 848, certain conduct for which the defendant has previously
been sentenced may be charged as part of the instant offense to establish a
“continuing series of violations.” A sentence resulting from a conviction
sustained prior to the last overt act of the instant offense is to be considered
a prior sentence under §4AJ.2(a)(1) and not part of the instant offense.

4. Violations of 21 U.S.C. § 848 will be grouped with other drug offenses for the
purpose of applying Chapter Three, Part D (Multiple Counts).

Background: Because a conviction tinder 21 U.S.C. § 848 establishes that a defendant
controlled and exercised authority over one of the most serious types of ongoing
criminal activity, this guideline provides a base offense leve] of 36. An adjustment
from Chapter Three, Part B is. not authorized because the offense level of this
guideline already reflects an adjustment for role im the offense.

Title 21 U.S.C. § 848 provides 4 20-year minimum mandatory penalty for ©
second convictions and a mandatory life sentence for principal administrators of
extremely large enterprises. Ifthe application of the guidelines results in a sentence
below the minimum’ sentence required by‘statute, the statulory minimum shall be the
guideline sentence. See §5G1.1(b).”.

The purpose of this amendment is to-ensure that the guideline adequately reflects the

seriousness of the criminal conduct. The previous guideline specified sentences that were
lower than sentences typically imposed on defendants convicted of engaging in a continuing
criminal enterprise, a result that the Commission did not intend. The guideline is also
amended to delete, as unnecessary, provisions that referred to statutory minimum sentences.
The effective date of this amendment is October 15, 1988.

Chapter One, Part A (4)(b) is amended in the first sentence by deleting *... that was” and
inserting in lieu thereof "of a kind, or to a degree,”.

Chapter One, Part A, section 4(b) is amended in the second sentence of the fast paragraph
by deleting "Part H” and inserting in lieu thereof "Part K (Departures)", and in the third
sentence of the last paragraph by deleting “Part H” and inserting 1m lieu thereof “Part K”.

The purposes of this amendment are to conform the quotation [o the statute, as amended
by Section 3 of the Sentencing Act of 1987, and to correct a clerical error. The effective date
of this amendment Is November 1, 1989.

Chapter One, Part A, section 4(b) is amended in the first sentence of the fourth paragraph
by deleting “three” and inserting in lieu thereof "two"; in the fourth paragraph by deleting
the second through eighth sentences as follows: :

"The first kind, which will most frequently be used, is in effect an ‘interpolation
between two adjacent, numerically oriented guideline rules. A specific offense
characteristic, for example, might require an increase of four levels for serious bodily
injury but two levels for. bodily injury. Rather than requiring a court to force middle
instances into either the ‘serious’ or the ‘simple’ category, the guideline commentary
suggests that the court may interpolate and select a midpoint increase of three levels.
The Commission has decided to call such an interpolation a ‘departure’ in light of the

C32 November J, 199%)
Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD_ Page 9 of 12

EXHIBIT B
Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD_ Page 10 of 12

November 1, 1995 GUIDELINES MANUAL §1B1.11

2. In determining the amended guideline range under subsection (b), the court shall substitute
only the amendments listed in subsection (c) for the corresponding guideline provisions that
were applied when the defendant was sentenced, All other guideline application decisions

remain unaffected.

Background: Section 3582 (c)(2) of Title 18, United States Code, provides: "“{/l]n the case of a

defendant who has been sentenced to a term of imprisonment based on.a sentencing range that has
subsequently been lowered by. the Sentencing Commission pursuant to 28 U.S.C. § 994(0), upon
motion of the defendant or the Director of the Bureau of Prisons, or on its own motion, the court
may reduce the term of imprisonment, after considering the factors set forth in section 3553(a) to
the extent that they are applicable, if such a reduction i is consistent with applicable policy statements

issued by the Sentencing Commission."

- This policy statement provides guidance for a court when considering a motion under
18 U.S:C. § 3582(c)(2) and implements 28 U.S.C. § 994(u), which provides: "If the Commission
reduces the term of imprisonment recommended in the guidelinés applicable to a particular offense
or category of offenses, it shall specify in what circumstances and by what amount the sentences of

prisoners serving terms of imprisonment for the offense may be reduced. ”

Among the factors considered by the Commission in selecting the amendments included in
subsection (c) were the purpose of the amendment, the magnitude of the change in the guideline
rangé madé by the amendment, and the difficulty of applying the amendment retroactively.

The Commission has not included in this policy statement amendments that generally reduce
the maximum of the guideline range by less than six months. This criterion ts in accard with the
legislative history of 28 U.S.C. § 994(u) (formerly § 994(t)), which states: “It should be noted that
the Committee does not expect that the Commission will recommend adjusting existing sentences
under the provision when guidelines are Simply refined in a way that might cause isolated instances
of existing sentences falling above the old guidelines’ or when there is only a minor downward

adjustment in the guidelines.
adjustments in these cases." S. Rep. 225, 98th Cong., 1st Sess. 180 (1983).

"So in original, Probably should be “to fall above the amended guidelines”.

Historical Note: Effective November 1, 1989 (see Appendix C, amendment 306). Amended effective November t, (990 (see
Appendix C, amendment 360); November 1, 1991 (sec Appendix C, amendment 423); November 1, 1992 (see Appendix C.
-amendment 469); November 1, 1993 (sce ‘Appendix C, amendment 502); November 1, 1994 (sce Appendix C, amendment

504); November !, 1995 {see Appendix C, amendment 536).

S1B1.11. Use of Guidelines Manual in Effect on Date of Sentencing (Policy Statement)

(a) The court shall use the Guidelines Manual in effect on the date that “the
defendant ts sentenced.

(b) (1) If the court determines that use of the Guidelines Manual in effect on the
date that the defendant is sentenced would violate the ex post facto
clause of the United States Constitution, the court shall use the

, Guidelines Manual in effect on the date that the offense of conviction

was committed,

(2) The Guidelines Manual in effect on a particular date shall be applied in
its entirety. The court shall not apply, for example, one guideline section
from one edition of the Guidelines Manual and another

-~31—

 

The Committee does nat believe the courts should be burdened with |
- i Case 4:89-cr-00232 Document 1647 Filed on 08/15/19 in TXSD Page 11 of 12

March 4, 2019

Roque U. Garcia #49905-079
FOC-Forrest City Low

P.O. Box 9000

Forrest City, AR 72336

OFFICE OF THE CLERK

BOB CASY COURTEDUGSE

515 RUSH SIRFET, Roan 5300

HOUSION, TX 77002-2600

Re: UNITED STATES v GARCIA No. H-89-232-SS-03

Dear Clerk:
Please fird enclosed Motion For Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) and Anendment
66. Please file the sane as soon as practical and thereafter please send notice of receipt and filing.
‘Thank you for yor time and any assistance in this matter.

Sincerely,

ager Y. Sorew
         

Roque U. Garcia # 49905-079
Federal Correctional Institution

ae NS

F.C,.lecForrest City-Low

P.O. Box 9000
Forrest City, AR. 72336

             

=
~

 

oF

 

OREVER
FOREVER

as

  

vad”

 
             

 

FORIVER

FOREVER “E39
FOREBER 7%

FOHEVER ©

 

 

  

Tig United States Courthouse
515 Rusk St. Room 5300
Houston, Tx. 77002-2600

United States Courts
Southern District of Texas
FILED

Special Mail ! AUG 15 7018

(IU UHM
pavid J. Bradley, Clerk of Court Ba | | |

 

UNITED STOYES:
POSTAL SERVICE ©

$0.00

77002 R2305E1 25361 -54

1000

-00232 Document 1647 Filed on 08/15/19 in TXSD Page 12 of 12
$
$
es
=
$s

Case 4:89-cr

  
   

   

WUAMUUITNMA UU

 
   
  

 
